       2:17-cr-20037-JES-JEH # 67       Page 1 of 4                                        E-FILED
                                                         Wednesday, 14 February, 2018 11:36:44 AM
                                                                      Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
      v.                                       )      Case No. 17-CR-20037
                                               )
BRENDT A. CHRISTENSEN,                         )
                                               )
                    Defendant.                 )

                                        ORDER

      The court enters the following scheduling order in this matter. If the parties

believe the court has omitted any deadlines they believe should be incorporated into the

scheduling order, they must file a motion seeking such incorporation with the court by

March 5, 2018.



      •      May 18, 2018 Government disclosure to Defendant of Rule 16 material and
                          evidence required to be disclosed under Brady and Giglio;

                                 Government supplemental disclosure to Defendant of
                                 expert witnesses in case-in-chief and expected
                                 evidence in support of aggravating factors.

      •      July 13 , 2018      Defense motions concerning any contested discovery
                                 matters related to either guilt/innocence or penalty
                                 phases of trial.
2:17-cr-20037-JES-JEH # 67    Page 2 of 4



•    Aug. 24, 2018      Defendant disclosure to Government of non-Rule 12.2
                        expert witnesses, including rebuttal experts;

                        New and amended pretrial motions due (other than
                        motions in limine), specifically including the
                        following:
                               -      Discovery motions;
                               -      Constitutional challenges to the Federal
                                      Death Penalty Act;
                               -      Challenges to Superseding Indictment
                                      or Notice of Intent;
                               -      Factual and legal challenges to validity
                                      of aggravating factors;
                               -      Challenges to Grand Jury venire
                               -      Motions attacking institution of
                                      prosecution;
                               -      Bill of Particulars;
                               -      Motions to suppress evidence;
                               -      Challenges to Government’s expert
                                      witnesses (including Daubert motions);

•    Sept. 21, 2018     Defendant’s deadline to give notice of intent to offer
                        Atkins defense or Rule 12.2 evidence during the guilt
                        and/or penalty phase.

•    Sept. 28, 2018     Motion to examine Defendant pursuant to
                        Defendant’s notice of intent to offer Atkins defense or
                        Rule 12.2 evidence during the guilt and/or penalty
                        phase (if such defense offered);

                        Motion for change of venue.

•    October 16, 2018   Responses to pretrial motions;

                        Government disclosure of rebuttal experts;

                        Government’s challenge to defense expert witnesses;

                        Government’s response to Defendant’s challenge to
                        Government experts;

                        Response to any motion for change of venue.

                                 2
2:17-cr-20037-JES-JEH # 67    Page 3 of 4



•    Nov. 16, 2018      Parties’ objections to court’s proposed Juror
                        Questionnaire.

•    December 7, 2018   Responses to objections to court’s proposed Juror
                        Questionnaire;

                        Defendant’s challenges to Government’s rebuttal
                        witnesses;

                        Defendant’s response to Government’s challenges to
                        defense experts;

                        Replies to responses to pretrial motions (only with
                        prior leave of court).

•    December 14, 17,   Hearings on any pretrial motions and proposed Juror
     18, and 19, 2018   Questionnaire (if necessary)

•    January 4, 2019    Submission of proposed jury instructions;

                        Objections to the court’s jury selection procedures
                        (including voir dire process).

•    January 11, 2019   Jury Questionnaires to be mailed.

•    January 18, 2019   Objections to proposed jury instructions;

                        Responses to objections to jury selection procedures
                        (including voir dire process);

                        Deadline for completion of Government testing based
                        on Defendant’s notice of intent to offer Atkins defense
                        or introduce Rule 12.2 evidence during the trial
                        and/or penalty phase (if such defense offered).

•    February 1, 2019   Conference on jury instructions, jury selection
                        procedures and voir dire process.

•    February 8, 2019   Motions in limine;

                        Anticipated date for completed Juror Questionnaires
                        to be provided to the parties.

                                 3
2:17-cr-20037-JES-JEH # 67    Page 4 of 4



•    March 1, 2019      Responses to motions in limine.

•    March 4, 2019      Motions to strike potential jurors for cause based on
                        their answers to Juror Questionnaire.

•    March 11, 2019     Pretrial conference which shall include any necessary
                        hearings on motions in limine, parties’ motions to
                        strike potential jurors for cause, and probable jury
                        instruction conference;

                        Government to provide defense with Jencks material
                        pursuant to 18 U.S.C. § 3500;

                        Parties to file witness lists, exhibit lists, and proposed
                        voir dire questions.

•    March 25, 2019     Final Pretrial Conference
     10:00 a.m.

•    April 2, 2019      Jury Orientation
     9:00 a.m.

•    April 3, 2019      Jury Selection begins
     9:00 a.m.


     ENTERED this 14th day of February, 2018.


                        s/ COLIN S. BRUCE
                       U.S. DISTRICT JUDGE




                                  4
